Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 1 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 2 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 3 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 4 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 5 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 6 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 7 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 8 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 9 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 10 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 11 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 12 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 13 of 24 PageID
                                    1973
Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 14 of 24 PageID
                                    1974
Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 15 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 16 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 17 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 18 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 19 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 20 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 21 of 24 PageID
                                    1981
Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 22 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 23 of 24 PageID
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Case 3:20-cv-01023-BJD-SJH   Document 203   Filed 10/15/21   Page 24 of 24 PageID
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